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 3     Telephone: 530.759.0700
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 4
     Attorney for Defendant
 5   JAMES KEVIN DIXON
 6

 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                       SACRAMENTO DIVISION
10

11
     UNITED STATES OF AMERICA,                      ) Case No. CR. S-08-263 FCD
12                                                  )
                               Plaintiff,           )          CR. S-08-579 FCD
13                                                  )
             vs.                                    )
14                                                  ) STIPULATION AND ORDER TO
     JAMES KEVIN DIXON,                             ) CONTINUE SENTENCING
15                                                  )
                               Defendant.           )
16                                                  )
                                                    )
17

18

19            It is hereby stipulated and agreed to between plaintiff, UNITED STATES OF
20   AMERICA, through its counsel of record, Matthew Segal, Assistant United States Attorney, and
21   defendant, JAMES KEVIN DIXON, through his counsel of record, Joseph J. Wiseman, and
22   without objection from the United States Probation Officer assigned to this case, that the
23   sentencing of defendant now scheduled for July 27, 2006 at 10:00 a.m., be rescheduled to
24   October 5, 2009 at 10:00 a.m.
25   /////
26   /////
27   /////
28   /////

                                                 1
     STIPULATION AND ORDER TO CONTINUE SENTENCING
      Case 2:08-cr-00263-TLN Document 111 Filed 07/08/09 Page 2 of 2


 1          The parties are requesting this continuance to provide the probation officer with
 2   additional time to prepare the case for sentencing.
 3   Dated: July 7, 2009                           Respectfully submitted,
 4                                                 JOSEPH J. WISEMAN, P.C.
 5

 6                                                 By:      /s/ Joseph J. Wiseman
 7                                                           JOSEPH J. WISEMAN
                                                             Attorney for Defendant
 8
                                                             JAMES KEVIN DIXON
 9

10
     Dated: July 7, 2009                           LAWRENCE G. BROWN
11                                                 United States Attorney

12
                                                   By:       /s/ Matthew D. Segal
13
                                                             MATTHEW D. SEGAL, AUSA
14                                                           Attorney for Plaintiff
                                                             UNITED STATES OF AMERICA
15

16
                                                  ORDER
17
            GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT the
18
     sentencing of defendant JAMES KEVIN DIXON in the above-captioned case shall be continued
19
     to October 5, 2009 at 10:00 a.m.
20
     Dated: July 8, 2009
21

22
                                                         ___________________________________________
23
                                                         FRANK C. DAMRELL, JR.
24                                                       UNITED STATES DISTRICT JUDGE
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                                                 2
     STIPULATION AND ORDER TO CONTINUE SENTENCING
